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                       EXHIBIT A




                       EXHIBIT A
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                                                                                            Electronically Filed
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                                                                                            Steven D. Grierson
                                                                                            CLERK OF THE COURT
           COMP
     1     PAUL R.M. CULL EN, ESQ.
           Nevada Bar No. 12355
     2     STEVE N M. BAKE R, ESQ.
           Nevada Bar No. 4522
     3     BERT OLDO BAKE R CART ER & SMITH                                         CASE NO: A-21-831964-C
           7408 W. Sahara Avenue                                                             Department 13
     4     Las Vegas, Nevada 89117
           Phone: (702) 228-2600
     5     Fax: (702) 228-2333
           paul(a),nvlegaljustice.com
     6     baker@nvlegaljustice.com
           Attorneys for Plaintiff
     7
                                                     DISTR ICT COUR T
     8
                                               CLAR K COUN TY, NEVADA
     9
                                                              ***
           DIANE FLOOD, an individual,                            CASE NO.:
                                                                  DEPT. NO.:
                  Plaintiff,
                                                                                COMP LAINT
           vs.

          FRONT IER AIRLIN ES, INC., a foreign
          corporation;   GATEW AY         FRONT LINE
          SERVI CES, INC. a foreign corporation;
          GATE WAY GROU P ONE, INC. a foreign
          corporation; DANIE L BLAIS E, an individual;
          JORDA N       ORPHA N,     an      individual;
          DIAMO ND BARR IER, an individual, an
          individual, DOES 1 through 20, inclusive, and
          ROE BUSIN ESS ENTITIES 1 through 20,
          inclusive,

                  Defendants.
19
                          COMES NOW the Plaintiff, DIANE FLOOD ("FLOOD"), by and through
                                                                                                                     her
20
         attorneys of record, the law firm of BERTO LDO BAKE R CARTE R & SMITH
                                                                                                  , and for her claims of
21
         relief against the Defendants, and each of them, alleges and complains as follows
                                                                                              :
22
                               ALLE GATIO NS COMM ON TO ALL CAUSE S OF ACTIO N
23
                 1.       Plaintif f FLOOD was at all times pertinent hereto, and still is, a resident
                                                                                                               of Clark
24
         County, State of Nevada.
25
                 2.       Defendant FRONT IER AIRLINES, INC. ("FRON TIER") was at all times
                                                                                                               pertine nt
26
         hereto, and still is, a Colora do corpora tion with principal place of business
                                                                                           in Denver , Colorado, duly
27
         authorized, qualified and regularly conducting business within the County of
                                                                                           Clark, State ofNeva da.
28

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      1              3.    Defendant GATEWAY FRONTLINE SERVICES, INC., ("FRONTLINE") was at all

     2 times pertinent hereto, and still is, a New Jersey Corporation, duly authorized, qualified and regularly

     3 conducting business within the County of Clark, State of Nevada.

     4               4.   Defendant GATEWAY GROUP ONE, INC., ("GATEWAY GROUP") was at all

     5 times pertinent hereto, and still is, a New Jersey corporation, the parent company of FRONTLINE,

     6 ROES 1 through 20, and each of them, duly authorized, qualified and regularly conducting business

     7 within the County of Clark, State of Nevada.

     8               5.   Upon information and belief, at all times herein mentioned, Defendant DANIEL

     9     BLAISE ("BLAISE") was at all times pertinent hereto, and still is, a resident of Clark County, State

           of Nevada.

 11                  6.   Upon information and belief, at all times herein mentioned, Defendant JORDAN

           ORPHAN ("ORPHAN") was at all times pertinent hereto, and still is, a resident of Clark County,

           State of Nevada.

                  7.      Upon information and belief, at all times herein mentioned, Defendant DIAMOND

           BARRIER ("BARRIER") was at all times pertinent hereto, a resident of Clark County, State of

           Nevada.

                  8.      The names and capacities of the Defendants DOES 1 through 20, inclusive, and

18 ROE BUSINESS ENTITIES 1 through 20, inclusive, are unknown to Plaintiff, who, therefore, sues

19 said Defendants by said fictitious names. Plaintiff is informed and believes and thereon alleges that

20 each of the Defendants designated as DOES 1 through 20 are owners, operators, or individuals

21        otherwise within possession and control of the certain wheelchair as herein alleged, and/or are

22 individuals or entities otherwise providing wheelchair or transportation services as herein alleged,

23 and/or individuals or entities permitting and allowing use of the certain wheelchair as herein alleged,

24 and/or are individuals or entities contracting for, providing for use, and making available the certain

25 wheelchair and transportation services as herein alleged, and or are individuals or entities

26 transporting or transferring Plaintiff as associated with wheelchair use as alleged herein, and/or are

27 employers, principals, supervisors, joint-ventures and/or entities otherwise in possession and control

28 of the certain wheelchair or responsible for the conduct of the operation, operators, and use of the

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                                   1 certain wheelchair as herein alleged, and/or are successors in interest, successors in assets and/or

                                  2 liabilities, predecessors in interest, owners in whole or in part, managers, members, Estates,

                                  3 Receiverships, and/or individuals and/or entities having an interest, controlling and/or otherwise,

                                  4 and/or identifying with Defendants FRONTIER, FRONTLINE, GATEWAY, BLAISE, ORPHAN,

                                  5 BARRIER, and/or any and all other DO Es and/or RO Es, and each of them, and/or are the true and

                                  6 correct names of any individual or business entity named as a Defendant herein. Plaintiff is informed

                                  7 and believes and thereon alleges that each of the Defendants designated as a DOE or a ROE

                                  8 BUSINESS ENTITY is in some manner negligently, vicariously, statutorily, intentionally, or

                                  9 otherwise responsible for the events and happenings referred to, and caused damages proximately to
=
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~
                              10 Plaintiff as herein alleged. Plaintiff will ask leave of the Court to amend this Complaint to insert the
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rJl                           11     true names of such Defendants when the same have been ascertained.
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       QJ
       =-                     12             9.     Upon information and belief, Defendant DANIEL BLAISE ("BLAISE"), DOES 1
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~      QJ a,., N


~~:~ 13                              through 20, and each of them, was at all times pertinent hereto an agent, employee, or assign of
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       c::I   z i;..          14 Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, ROE BUSINESS ENTITIES 1 through
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< ~ >,~ 15 20, and each of them, was providing wheelchair assistance on behalf of Defendants FRONTIER,
       QJ     bJ) 0


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              r,i    00
                             16 FRONTLINE, GATEWAY GROUP, ROE BUSINESS ENTITIES 1 through 20, and each of them, and
~r---~M
~                    ~       17 was acting within the scope and course of his agency, employment, or assignment with Defendants
0
~
~                            18 FRONTIER, FRONTLINE, GATEWAY GROUP, ROE BUSINESS ENTITIES 1 through 20, and
~

=                            19 each of them.

                             20              10.    Upon information and belief, Defendant JORDAN ORPHAN ("ORPHAN"), DOES 1

                             21     through 20, and each of them, was at all times pertinent hereto an agent, employee, or assign of

                             22 Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, ROE BUSINESS ENTITIES 1 through

                             23     20, and each of them, was providing wheelchair assistance for Defendants FRONTIER, FRONTLINE,

                             24 GATEWAY GROUP, ROES 1 through 20, and each of them, and was acting within the scope and

                             25 course of his agency, employment, or assignment with Defendants FRONTIER, FRONTLINE,

                             26 GATEWAY GROUP, ROE BUSINESS ENTITIES 1 through 20, and each of them.

                             27             11.    Upon information and belief, Defendant DIAMOND BARRIER ("BARRIER"), DOES

                             28     1 through 20, and each of them, was at all times pertinent hereto an agent, employee, or assign of

                                                                                Page 3 of 13
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                                  1 Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, ROE BUSINESS ENTITIES 1 through

                                  2 20, and each of them, was providing wheelchair assistance for Defendants FRONTIER, FRONTLINE,

                                  3 GATEWAY GROUP, ROES 1 through 20, and each of them, and was acting within the scope and

                                  4 course of his agency, employment, or assignment with Defendants FRONTIER, FRONTLINE,

                                  5 GATEWAY GROUP, ROE BUSINESS ENTITIES 1 through 20, and each of them.

                                  6            12.    On or about April 5, 2019, Plaintiff FLOOD was a passenger on Frontier Airlines

                                  7 travelling from Milwaukee, Wisconsin to Las Vegas, Nevada.

                                  8            13.    Ms. Flood was moving to Las Vegas to obtain cancer treatment.

                                  9            14.    At all times pertinent hereto, Defendant FRONTIER, ROE BUSINESS ENTITIES 1
=
~
~
                              10 through 20, and each of them, was operating as an airline which offered wheelchair assistance to its
~
oo                            11 passengers.
~                      ~
~ ~ E~ 12                                      15.    As part of her reservation and relationship with Defendant FRONTIER, DOES 1
5::.;~~
~ -.... "" ,,. 13 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, Plaintiff FLOOD requested
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     -; z ~ 14 wheelchair assistance to help transport and carry her from the plane to her brother who was waiting at
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< ~ ~ ~0 15 baggage claim.
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O ~ ci: ~ 16       16.  At all times pertinent hereto, Defendant FRONTIER, DOES 1 through 20, ROE
~r--~M
~       ~ 17 BUSINESS ENTITIES 1 through 20, and each of them, contracted, assigned, employed, or had an
0
~
~                            18 agreement otherwise with Defendants FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN,
=                            19 BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, to

                             20 provide wheelchair transportation services to certain passengers having difficulties with mobility and, in

                             21       particular, to Plaintiff FLOOD, and to commonly carry and transport such passengers at and through

                             22 McCarren International Airport and other locations.

                             23               17.    At all times pertinent hereto, Defendants FRONTIER, FRONTLINE, GATEWAY

                             24 GROUP, BLAISE, OPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES I through

                             25 20, and each of them owed a non-delegable duty of care to Plaintiff FLOOD to provide such

                             26 transportation and wheelchair services in a safe, adequate and reasonable manner, one which did not

                             27 present a foreseeable risk of harm to passengers and transportees, and in particular to Plaintiff FLOOD.

                             28

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     1             18.     At all times pertinent hereto, Defendants FRONTIER, FRONTLINE, GATEWAY

     2 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

     3 through 20, and each of them, were operating and acting as Common Carriers and therefore owed a

     4 heightened duty to its passengers, transportees, and other individuals in their care, and in particular

     5 to Plaintiff FLOOD, to use the highest degree of care consistent with the mode of conveyance used

     6 and the practical operation of their, and each of their, businesses.

     7             19.    Upon information and belief, at all pertinent times hereto, Defendants FRONTIER,

     8 FRONTLINE, GATEWAY GROOUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE

     9 BUSINESS ENTITIES 1 through 20, and each of them, provided wheelchair assistance for Ms. Flood's

 10 flight which arrived at McCarren International Airport on or about April 5, 2019.

 11               20.     Upon information and belief, Defendants FRONTIER, FRONTLINE, GATEWAY

 12 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

 13 through 20, and each of them, were responsible for assisting Plaintiff FLOOD to deplane and to transfer

 14 her to a wheelchair.

                  21.     Upon information and belief, Defendants FRONTIER, FRONTLINE, GATEWAY

16 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

17 through 20, and each of them, entered the plane to assist Plaintiff FLOOD in leaving the aircraft.

18                22.    Upon information and belief, Defendants FRONTIER, FRONTLINE, GATEWAY

19 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

20 through 20, and each of them, assisted Plaintiff FLOOD in leaving the aircraft by using a smaller-sized

21       wheelchair designed to assist passengers in the tight quarters of an aircraft, commonly referred to as an

22 "aisle chair".

23               23.     Upon information and belief, Defendants FRONTIER, FRONTLINE, GATEWAY

24 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

25 through 20, and each of them, exited the aircraft with Plaintiff FLOOD seated on the aisle chair.

26               24.     Upon information and belief, after exiting the aircraft, Defendants FRONTIER,

27 FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE

28

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                                                                  1 BUSINESS ENTITIES 1 through 20, and each of them, attempted to transfer Plaintiff FLOOD from the

                                                                  2 aisle chair to a full-size wheelchair.

                                                                  3           25.     At all times pertinent hereto, said wheelchairs, and each of them, were owned,

                                                                  4 operated, maintained, controlled, and provided for use otherwise by Defendants FRONTIER,

                                                                  5 FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE

                                                                  6 BUSINESS ENTITIES 1 through 20, and each of them.

                                                                  7           26.     At said time and place, Defendants FRONTIER, FRONTLINE, GATEWAY GROUP,

                                                                  8 BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and

                                                                  9 each of them, failed to properly transport and transfer Plaintiff FLOOD and otherwise failed to
BERTOLDO BAKER CARTER & SMITH




                                                                 10 safeguard her health and safety, and dropped Plaintiff FLOOD on the ground, causing severe personal

                                                                 11 injuries, including but not limited to, a broken arm.
                                702-228-2600• Fax 702-228-2333
                                   7408 West Sahara Avenue




                                                                 12           27.     At all times pertinent hereto, Defendants FRONTIER, FRONTLINE, GATEWAY
                                   Las Vegas, Nevada 89117




                                                                 13 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

                                                                 14 through 20, and each of them, were acting as principals, agents, employees, alter-egos, joint-

                                                                 15 venturers, independent contractors, non-delegable service providers, and/or assigns of each and all

                                                                 16 other Defendant as alleged herein, and within the scope and course of such relationship.

                                                                 17           28.     Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN,

                                                                 18 BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, are

                                                                 19 vicariously, contractually, legally, jointly and severally, and/or otherwise liable for the acts and

                                                                 20 omissions of each other and of each and every other Defendant as alleged herein.

                                                                 21           29.     Venue is proper here in that the facts and circumstances that give rise to the subject

                                                                 22 lawsuit occurred in Clark County, Nevada, and this Court has subject matter jurisdiction pursuant to

                                                                 23 NRS 4.370(1), as the matter in controversy exceeds $15,000.00, exclusive of attorney’s fees,

                                                                 24 interest, and costs.

                                                                 25 ///

                                                                 26 ///

                                                                 27 ///

                                                                 28

                                                                                                                    Page 6 of 13
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     1                                   FIRST CAUSE OF ACTION
           Negligence; Negligence Per Se; Vicarious, Joint-and-Several, Contractual, Statutory, and
     2     Legal Liability - Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE,
           ORPHAN, BARRIER, DOES 1-20, ROE BUSINESS ENTITIES 1-20, and each of them)
     3
                   30.    Each and every allegation of the preceding and succeeding paragraphs is hereby
     4
          replead and realleged as though fully set forth.
     5
                   31.    At all times pertinent hereto, Defendants FRONTIER, FRONTLINE, GATEWAY
     6
          GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1
     7
          through 20, and each of them, had a duty to reasonably and prudently carry and transport passengers,
     8
          including, but not limited to, providing wheelchairs and wheelchair services to passengers of limited
     9
          mobility in a safe and careful manner, one not creating a foreseeable risk of harm             to such

          individuals, including, but not limited to, Plaintiff FLOOD.

                  32.     At said time and place, through the aforesaid acts and om1ss10ns, Defendants

          FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1

         through 20, ROE BUSINESS ENTITIES 1 through 20, and each of the, negligently and carelessly

         breached said duty of care by, but not limited to, failing to properly, carefully, and safely, transport

         and transfer Plaintiff FLOOD, causing her to fall to the ground and suffer severe and lasting injuries,

         including, but not limited to, a broken arm, as alleged herein.

                  33.    As a direct and proximate result of the aforesaid negligence, carelessness, and breach

         of duty on the parts of Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE,
19
         ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of
20
         them, Plaintiff FLOOD was injured in her health, strength and activity, sustaining shock and injury
21
         to her body, nervous system and person, all of which have caused, and will continue to cause the
22
         Plaintiff physical, mental and nervous pain and suffering.
23
                 34.     As a direct and proximate result of the negligence, carelessness, and breach of duty
24
         on the part of Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN,
25
         BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them,
26
         Plaintiff FLOOD has incurred, and continues to incur, past and future medical expenses, and other
27

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 1 and further losses, all to Plaintiff's special and general damages in an amount in excess of Fifteen

 2 Thousand Dollars ($15,000.00)

 3           35.     As employees, employers, agents assigns, partners, joint ventures, or associated

 4 individuals and entities otherwise of each and every other Defendant, Defendants FRONTIER,

 5 FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE

 6 BUSINESS ENTITIES 1 through 20 and each of them, are vicariously, joint-and-severally,

 7 contractually, and otherwise legally liable for the negligence, carelessness, and breach of duty as alleged

 8 herein.

 9                                SECOND CAUSE OF ACTION
      (Common Carrier Liability; Vicarious, Joint and Several, Contractual, Statutory, and Legal
         Liability- Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE,
       ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and
11                                          each of them)

             36.     Each and every allegation of the preceding and succeeding paragraphs is hereby

13 replead and realleged as though fully set forth.

             37.     At all times pertinent hereto, Defendants FRONTIER, FRONTLINE, GATEWAY

15 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

16 through 20, and each of them were acting as, advertising as, holding themselves out as, and providing

17 transportation services in the capacity of a common carrier, thereby having a heightened duty to its

18 passengers and other individuals to use the highest degree of care consistent with the mode of

19 conveyance used and the practical operation of their_ and each of their, business.

20           38.     The acts and omissions on the part of Defendants FRONTIER, FRONTLINE,

21   GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS

22 ENTITIES 1 through 20, and each of them, were a breach of the common carrier heightened duty of

23 care.

24           39.     As a direct and proximate result of the breach of the common carrier heightened duty

25 of care as alleged herein on the part of Defendants FRONTIER, FRONTLINE, GATEWAY

26 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

27 through 20, and each of them, Plaintiff FLOOD was injured in her health, strength and activity,

28
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      1 sustaining shock and injury to her body, nervous system and person, all of which have caused, and

     2 will continue to cause the Plaintiff physical, mental and nervous pain and suffering.

     3           40.     As a direct and proximate result of the breach of the common carrier heightened duty

     4 of care as alleged herein on the part of Defendants FRONTIER, FRONTLINE, GATEWAY

     5 GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1

     6 through 20, and each of them, Plaintiff FLOOD has incurred, and continues to incur, past and future

     7 medical expenses, and other and further losses, all to Plaintiffs special and general damages in an

     8 amount in excess of Fifteen Thousand Dollars ($15,000.00)

     9           41.    Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN,

 10 BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, are

 11      vicariously, joint-and-severally, contractually, and otherwise liable for the breach of the common

 12 carrier heightened duty of care as alleged herein.

                                        THIRD CAUSE OF ACTION
          (Negligent Hiring, Contracting, Training, Supervision, Entrustment, Retention; Vicarious,
          Joint-and Several, Contractual, Statutory, and Legal Liability - Defendants FRONTIER,
          FRONTLINE, GATEWAY GROUP, DOES 1 through 20, ROE BUSINESS ENTITIES 1
          through 20, and each of them)
                42.     Each and every allegation of the preceding paragraphs is hereby replead and

17 realleged as though fully set forth.

18              43.    At all times relevant hereto, Defendants FRONTIER, FRONTLINE, GATEWAY

19 GROUP, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, had the

20 duty to reasonably and properly hire, contract, train, supervise, entrust, and retain Defendants BLAISE,

21       ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of

22 them, and each other, so as to ensure Defendant FRONTIER, FRONTLINE, GATEWAY GROUP,

23       BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20,

24 and each of them, and each other, could and would provide wheelchair assistance in a safe and

25 reasonable manner, one not creating a foreseeable risk of harm to passengers, including but not

26 limited to, Plaintiff FLOOD.

27             44.     At all times relevant hereto, Defendants FRONTIER, FRONTLINE, GATEWAY

28 GROUP, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, and had

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                                1 the heightened duty of care of a common carrier to carefully, adequately, and properly, hire, contract,

                               2 train, supervise, entrust, and retain Defendants BLAISE, ORPHAN, BARRIER, DOES 1 through 20,

                               3 ROE BUSINESS ENTITIES 1 through 20, and each of them, and each other, so as to ensure

                               4 Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER,

                               5 DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, could and would

                               6 perform wheelchair and other transport and transfer services in a safe and reasonable manner, one not

                               7 creating a foreseeable risk of harm to others, including but not limited to, Plaintiff FLOOD.

                               8             45.    At all times pertinent hereto, Defendants FRONTIER, FRONTLINE, GATEWAY

                               9 GROUP, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them,
=
~
~
                           10 negligently and carelessly breached their, and each of their, duty of care by, but not limited to: 1)
~
00                         11      failing to adequately vet Defendant FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN,
                  ~
~                 ~

~           t--   ~
      Q)
      = --                 12 BARRIER, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, and
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      Q)



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     I,.,
                                   each other; 2) failing to adequately and properly effectuate and enforce reasonable and adequate safety
  c:s       ;;>   ~
~.CQ)c:s
   c:s z i;..              14 policies for transporting and transferring passengers; 3) failing to adequately and properly institute,
~ en c::~ 0
     ..
     r;n
            r;n   •


< ~ >,~ 15 effectuate, and enforce plans, policies, guidelines, procedures, and training concerning the appropriate
     Q)     ell 0
            Q)
~ 00        r;n   00
0 ~ c:s~ 16 and proper way to transport and transfer passengers entrusted to them; and 4) by otherwise failing to
~ r-- ..;i N
~                 ~        17 ensure that their agents, employees, contractors, assigns, and service providers, in particular Defendants
0
~
~                         18 FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1
~
~
                          19 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, and each other, was/were

                          20 competent to provide wheelchair and other transportation and transfer services reasonably and safely so

                          21       as to prevent injury to passengers and transferees, including but not limited to Plaintiff, all and each of

                          22 which resulted in PlaintiffFLOOD's injuries and damages as alleged herein.

                          23               46.     At all times pertinent hereto, Defendants FRONTIER, FRONTLINE, GATEWAY

                          24 GROUP, DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, breached

                          25 said heightened duty of care of a common carrier by, but not limited to: 1) failing to adequately vet

                          26 Defendant FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER,

                          27 DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, and each other; 2)

                          28 failing to adequately and properly institute, effectuate, and enforce reasonable and adequate safety

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      1 policies for transporting and transferring passengers; 3) failing to adequately and properly institute,

     2 effectuate, and enforce plans, policies, guidelines, procedures, and training concerning the appropriate

     3 and proper way to transport and transfer passengers entrusted to them; and 4) by otherwise failing to

     4 ensure that their agents, employees, contractors, assigns, and service providers, in particular Defendants

     5 FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1

     6 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, and each other, was/were

     7 competent to provide wheelchair transportation, transfer, and related services safely so as to prevent

     8 injury to the passengers, including but not limited to Plaintiff, all and each of which resulted in Plaintiff

     9 FLOOD' injuries and damages as alleged herein.

                 47.     As a direct and proximate result of the aforesaid negligence and carelessness in the

 11     hiring, contracting, training, supervision, entrustment, and retention of Defendants FRONTIER,

 12 FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE

 13 BUSINESS ENTITIES 1 through 20, and each of them, and each other, on the part Defendants

 14 FRONTIER, FRONTLINE, GATEWAY GROUP, DOES 1 through 20, ROE BUSINESS

 15 ENTITIES 1 through 20, and each of them, Plaintiff FLOOD was injured in her health, strength and

 16 activity, sustaining shock and injury to her body, nervous system and person, all of which have

17 caused, and will continue to cause the Plaintiff physical, mental and nervous pain and suffering.

18              48.     As a direct and proximate result of the aforesaid breach of the heightened duty of

19 care of a common carrier in the hiring, contracting, training, supervision, entrustment, and retention

20 of Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER,

21     DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, and each other,

22 on the part Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, DOES 1 through 20, ROE

23     BUSINESS ENTITIES 1 through 20, and each of them, Plaintiff FLOOD was injured in her health,

24 strength and activity, sustaining shock and injury to her body, nervous system and person, all of

25 which have caused, and will continue to cause the Plaintiff physical, mental and nervous pain and

26 suffering.

27              49.     As a direct and proximate result of the aforesaid negligence and carelessness in the

28 hiring, contracting, training, supervision, entrustment, and retention of Defendants FRONTIER,

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      1 FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER, DOES 1 through 20, ROE

     2 BUSINESS ENTITIES 1 through 20, and each of them, and each other, on the part of Defendants

     3 FRONTIER, FRONTLINE, GATEWAY GROUP, DOES 1 through 20, ROE BUSINESS

     4 ENTITIES 1 through 20, and each of them, Plaintiff FLOOD has incurred, and continues to incur,

     5 past and future medical expenses, and other and further losses, all to Plaintiffs special and general

     6 damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00).

     7               50.    As a direct and proximate result of the aforesaid breach of the heightened duty of

     8 care of a common carrier in the hiring, contracting, training, supervision, entrustment, and retention

     9 of Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, BLAISE, ORPHAN, BARRIER,

 10 DOES 1 through 20, ROE BUSINESS ENTITIES 1 through 20, and each of them, and each other,

 11      on the part of Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, DOES 1 through 20,

 12 ROE BUSINESS ENTITIES 1 through 20, and each of them, Plaintiff FLOOD has incurred, and

 13 continues to incur, past and future medical expenses, and other and further losses, all to Plaintiffs

 14 special and general damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00).

                 51.       Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, DOES 1 through 20,

16 ROE BUSINESS ENTITIES 1 through 20, and each of them, are vicariously, joint-and-severally,

17 contractually, and otherwise liable for their, and each of their, negligence and carelessness in the

18 hiring, contracting, training, supervision, entrustment and breach of duty of care as alleged herein.

19               52.       Defendants FRONTIER, FRONTLINE, GATEWAY GROUP, DOES 1 through 20,

20 ROE BUSINESS ENTITIES 1 through 20, and each of them, are vicariously, joint-and-severally,

21       contractually, and otherwise liable for their, and each of their, breach of the common carrier

22 heightened duty in the hiring, contracting, training, supervision, and entrustment as alleged herein.

23              WHEREFORE, Plaintiff DIANE FLOOD prays for relief against Defendants, and each of

24 them, aforesaid as follows:

25                                  FOR EACH AND EVERY CAUSE OF ACTION

26              1.         For past and future general damages and loss in an amount in excess of FIFTEEN

27                         THOUSAND DOLLARS ($15,000.00);

28              2.         Special damages in an amount to be determined at time of trial;

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                       1         3.     Reasonable attorney fees, pre and post-judgment interest, and costs of suit; and

                       2         4.     Such other and further relief as the Court may deem just and proper.

                       3   DATED this 29th day of March, 2021.

                       4

                       5                                                   PAUL R.M. CULLEN, ESQ.
                                                                           Nevada Bar No. 12355
                       6                                                   STEVEN M. BAKER, ESQ.
                                                                           Nevada Bar No. 4522
                       7                                                   7408 West Sahara A venue
                                                                           Las Vegas, Nevada 89117
                       8                                                   Attorneys for Plaintiff

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